Case 3:16-cv-05278-MAS-LHG Document 46 Filed 08/31/18

August 31, 2018
Filed via ECF

Hon. Michael A. Shipp, USDJ

United States District Court

Clarkson S. Fisher Building & US Courthouse
402 East State Street

Trenton, NJ 08608

Re: Sequeira v. JP Morgan Chase Bank, NA
Case No. 16-cv-5278-MAS-LHG

Dear Judge Shipp:

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As Your Honor is aware, this office represents Plaintiff in this

matter.

Plaintiff requests an adjournment of Defendant JPMorgan Chase
Bank’s pending Motion to Dismiss, Docket Entry No. 45. This

request is made pursuant to D.NJ-.R. 7T.1(d) (5).

The return date

of the pending motion has not been previously extended or

adjourned.

Pursuant to D.NJ.R. 7.1(d)(5), Plaintiff
motion be adjourned from September 17,
available motion date, October 1, 2018.

applicable rules, Plaintiff’s deadline for

papers would be September 17, 2018.

requests that the
2018 to the next

Pursuant to the
filing opposition

We thank Your Honor for consideration of this request.

Respectfully submitted,

DENBEAUX & DENBEAUX

/8s/ Joshua W. Denbeaux
By: Joshua W. Denbeaux

 

JWD:jc

cc: All Counsel of Record via ECF
Keith Sequeira
